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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS



KATELYN HANKS,                                    )
                                                  )
                          Plaintiff,              )
                                                  )        CIVIL ACTION
vs.                                               )
                                                  )        FILE No. 4:20-CV-00765
126 PLANO CENTER, LTD.,                           )
                                                  )
                          Defendant.              )


       NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANT WITH PREJUDICE

         Plaintiff, KATELYN HANKS (“Plaintiff”), by and through undersigned counsel and

pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby provides this

Notice to the Court and to all relevant parties of Plaintiff’s voluntary dismissal of Defendant, 126

PLANO CENTER, LTD., and the entire action, with Prejudice.

         Respectfully submitted this 14TH day of January, 2021.

                                                  Law Offices of
                                                  THE SCHAPIRO LAW GROUP, P.L.

                                                  /s/ Douglas S. Schapiro
                                                  Douglas S. Schapiro, Esq.
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the

Court’s CM/ECF system on January 14, 2021 upon all counsel or parties.



                                              /s/ Douglas S. Schapiro
                                              Douglas S. Schapiro, Esq.
                                              State Bar No. 54538FL
                                              Attorney for Plaintiff




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